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                             UNITED STATES DISTRICT COURT
                             SO UTHERN DISTRICT O F FLO RIDA
                       CASE NO.13-14047-CR-MARTINE& LYNCH(s)(s)(s)
   UNITED STATES O F AM ERICA ,
          Plaintiff,                                                1
                                                                    'r
                                                                     -ILEDf
                                                                          )y                D.c.
   V.
                                                                        ./
                                                                        p,Av.- 8 221j
   RAVEN SIM O NE SAYERS,
                                                                         STEVEN M.LRRIMORE
          Defendant.                                                      t)Lq:RKU. S,D'
                                                                                       .ST.CT.
                                          /                             S.D.()r!-qi
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                         REPORT AND RECO M M ENDATION O N
                  APPROPRIATENESS O F CO UNSEL'S CJA VO UCHER
                   FO R ATTORNEY'S FEES N O UCHER #FLS 13-10351

          THIS CAUSE having com e on to be heard upon the aforem entioned CJA Voucher

   as referred by the District Court and this Court having reviewed the voucher of M r.

   Johansson,his Ietterofexplanation attached thereto aswellas the tim e records and other

   docum entation,and this Courtotherw ise being advised in the prem ises recom m ends to

   the DistrictCourtas follow s:

                The CJA Administratorhasadjusted the hoursand amountssetfodh inthe
   CJA Vouchersubm itted by counselforthe Defendant.The Administratorhas adjusted
   these to correctly reflectthe tim e devoted to eachtaskandthe applicable hourly rate which

   varied during the tim e thatthe Defendantwas represented by M r.Johansson.

         2.     Based uponthese adjustments,the CJA Voucherseeks reimbursementof
   4.9 hoursofin-coud timetotaling $558.20.The voucherseeksreimbursementofout-of-
   courttime of140.9 hours totaling $14,920.30. Therefore,the totalamountofattorney's
   fees soughtas adjusted by the CJA Administrator is $15,478.50 which exceeds the
   statutory cap of$9,800.00.This Courtnotesthattravelrelated expensesinthe amount
   of$1,464.19 are also included inthe CJA Voucher.There issufficientdocumentationto
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   establish entitlem entand reasonableness ofthose costs and they should be awarded in

   full. This Courtwilladdress only the attorney's fees issues further.

                This Courthas reviewed the CJA Vouchersubm itted by M r.Johansson as

   wellas the attached time records and his Ietterofexplanation. His Ietterofexplanation

   sets forth the various reasons why he believes that the m atter was ''extended''and

   d'com plex.'' Those reasons are:

                       There were two bank robberies involved in the case.

                b.     The Defendantwasthe getaw aydriverforone group ofbank robbers.

                       Discoverywasextensive and com plexbecause itinvolved ''num erous
                       players,stories,and identifications.'' M r.Johansson's Ietterasseds
                       thatthere were seven DV DWCDSw hich had to be reviewed as pad of
                       the discovery.

                d.     M r.Johansson was appointed atthe target Ietterstage before the
                       grand juryand spentnumeroushours discussing the prosand cons
                       ofm eeting with the governmentfordebriefing before charges were
                       filed.

                e.     There were three arraignm ents on the originalIndictm ent and the
                       subsequentSuperseding Indictm ents.
                f.     Therewere anotherthree bank robberiesnodh ofFortPierce and one
                       in Tam pa which the Defendantwas allegedly involved in.

                g.     Mr.Johansson had to negotiate im m unity with the U.S.Attorney for
                       the M iddle DistrictofFlorida concerning the Tam pa bank robbery.

         4.     As M r.Johansson's Ietterindicates,his representation as coud appointed

   counselforthe Defendantbegan priorto crim inalcharges being filed.O ncethe Defendant

   was notified thatshe was a targetofthe investigation,this Courtappointed M r.Johansson

   to representher.He continued thatrepresentation afterchargeswereform ally filed.That

   representation byoriginalappointm entbefore chargeswere filed w asonAugust21,2013.

   His representation continued through sentencing and concluded on M arch 12,2014.
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         5.     This Coud isfam iliarwith thiscase from itsbeginning.This Courtconducted

   the original appointm ent of counsel for the Defendant and aII subsequent pretrial

   proceedings.The case resol
                            ved itselfbyway ofa change ofplea on Decem ber13,2013.

   Thereafter,the Defendantwassentenced by Judge Martinez on oraboutMarch 10,2014.

   There were no extensive evidentiary hearings in this case. The Defendant's initial

   appearance was on Septem ber26,2013. A Detention Hearing was held on October2,
   2013. Subsequentarraignm ents were held on O ctober4,2013,Novem ber5,2013,and

   atthe tim e that the Defendant entered her change of plea on Decem ber 13,2013.

   Between those dates,there were w hatappears to be atIeastthree orfourresponses by

   the governm entto this Court's Standing Discovery O rderwhich provided M r.Johansson

   withdiscovery inthe case.ThisCourtconducted the change ofplea hearing on Decem ber

   13,2013 wherein the Defendantpleaded guilty pursuantto a w ritten plea agreementand

   stipulated factualbasis. Thereafterthe Defendantwas sentenced by Judge Madinez as

   referenced above.

         6.    The Defendantpledguiltyto CountFouroftheThird Superseding Indictment

   which charged herwith interfering with com merce by threats orviolence (robbery),in
   violationofTitle 18,United StatesCode,Sections 1951(a)and 2'
                                                              ,CountSixofthatsame
   Indictm entwhich charged the Defendantw i
                                           th interfering with com merce by threats or

   violence(robbery),inviolationofTitle 18,UnitedStatesCode,Section 1951(a)'
                                                                           ,andCount
   Seven ofthatsam e Indictm entwhich charged the Defendantwith using,carrying,and

   possessingafirearm infudheranceofacrimeofviolence(brandishing),inviolationofTitle
   18,United States Code,Sections924(c)(1)(A)(ii)and 2.The Defendantwas sentenced
   by Judge M artinez to 78 m onths concurrent on Counts Fourand Six,and 84 m onths
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   consecutive on CountSeven to be followed by three years ofsupervised release on aII

   three counts to run concurrently along with a special assessment and an order of

   restitution.

          7.      This is an adm inistrative decision as opposed to an adversarialproceeding

   asdelineated in United Statesv.Griggs,240 F.3d 974 (11thCir.2001).Additionally,itis
   notnecessary forthis Courtto conductan evidentiary hearing since this Coud conducted

   aIIof the pretrial proceedings including the Defendant's change of plea hearing as

   referenced above.

          8.      The attorney's fees soughtby M r.Johansson exceed the statutory cap of

   $9,800.00 as recently adjusted in 18 U.S.C.j3006A(d)(3). Therefore,this Coud must
   determinewhetherthere issufficientjustificationtowaiveorexceedthatstatutorycap.ln
   doing so,this Coud m ustdeterm ine ifthe matterwas ''extended''or''com plex''as defined

   in the statute and the applicable case Iaw .

          9.      M r.Johansson has attached a Ietterofexplanation as referenced by this

   Court. This Coud understands and accepts those groundsw hich M r.Johansson asseds

   qualifythiscase as being d'extended''and/ors'com plex.''However,this Courtdisagreeswith

   Mr.Johansson's ul
                   tim ate conclusion in thatregard.

          10.     The entire representation in this case from the tim e thatM r.Johansson was

   appointed to representthe Defendantatthe targetIetterstage through sentencing isjust
   shod ofseven m onths. As referenced previously by this Court,there were no extensive

   evidentiary hearings. Aside from the three arraignm ents,there was a Detention Hearing
   and a Change ofPlea Hearing priorto sentencing.This is borne outby M r.Johansson's

   requestforonly 4.9 hours ofcom pensation forin-courttim e.

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          11.       Likew ise,this Coud understandsthatM r.Johansson spentquite a bitoftim e

   outofcourtin discussing the case with the Defendant,the U.S.Attorney forthis District,

   and the U. S.Attorney for the M iddle District of Florida,together with review ing the

   discovery in thiscase.ThisCoud does notfind any tim e record which needsto be deleted

   oradjusted inthatregard. Mr.Johansson regularlyappears before this Coud infederal
   crim inalcases. He is wellrespected and is a very com petentcrim inaldefense attorney in

   this division.

          12.       This Courtis guided by the defini
                                                    tions previously established concerning

   d'extended'
             'and ''com plex.'' An ''extended''case is one requiring m ore tim e than norm al

   undersim ilarfacts and circum stances.A ''com plex''case is defined as one involving facts

   so unusualastojustifythe expenditure ofmoretime,skilland effortthan a normalcase.
   See Eason v.United States,2010 W L 5575741 (S.D.Fla.2010)and United States v.
   Moreira,2009W L 362095 (S.D.Fla.2009).
          13,       This Coud cannot in good faith find this case to be either''extended''or

   ''com plex.''The case proceeded in a norm alfashion.As referenced severaltim es herein,

   there were no extensive hearings norevidentiary issues decided by this Coud northe

   DistrictCoud. The case was resolved by way ofentry ofguilty pleas by the Defendant

   pursuantto a written plea agreem ent. Therefore,this Courtfinds thatthis case does not

   qualify as eitherextended orcom plex as setforth in the guidelines this Courtis required

   to follow .

          14.       This Courtappreciatesthe servicesw hich were provided by M r.Johansson.

   This Courtm ustperform its function in review ing CJA Vouchers and actas a gatekeeper

   to balancethe entitlementofa defendantto competentrepresentation and the abilityofthe
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   coud appointed counselto be fully com pensated. However,this Courtm ustbalance the

   rightofcourtappointed counselto receive adequate com pensationforsuch representation

   to an indigentdefendant,such as in this case,w i
                                                  ththe understanding and realization that

   there are Iim ited CJA funds available in this Districtand nationwide forpaym entofsuch

   services. Congress has reduced the am ountoffunds fordefenderservices nationw ide

   overthe pastseveralyears. This includes funds forthe FederalPublic Defenderand

   available funds forthe paym ent of CJA counsel. This Court m ust make certain that

   defense counselis adequately com pensated,even ifi
                                                    tis notfullcom pensation. Fudher,

   this Courtm ustm ake certainthatsuch amountsexceeding the statutory cap as requested

   hereinare notpaidunlessthere issufficientjustificationunderthe applicablecaseIaw and
   statutory fram ework which governs this Court's review ofsuch m atters.

          15.   Ifthis Court,and othercouds,did notprovide this gatekeeperfunction,the

   im pacton the availability ofCJA fundsto indigentdefendants in the future would be m uch

   m ore severe than i
                     tis underthe presentbudgetary constraints.
          16.   In reducing the am ount sought by M r.Johansson to the statutory cap of

   $9,800.00 plus travelexpenses,this Court is notquestioning in any way the tasks
   performed northe tim e devoted to those tasks. This Courtis required to m erely m ake a

   determ ination that under the statutory fram ework and definitions w hich this Court is

   required to follow,thatthis case does notm eetthe definitions ofeitherbeing ''extended''

   norddcom plex.' By doing this,this Courtis hoping to m ake cedain thatin the future there

   w illbe funds available forotherindigentdefendants who have notyetbeen arrested or

   charged.In otherw ords,courts cannotdeplete aIIofthe defenderservicesaswe go along
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   andthentrytofigure outaw ayto com pensate counselforthose otherindigentdefendants

   in the future who willalso need coud appointed counsel.

                As a resultofthe foregoing findings,M r.Johansson's recovery ofattorney's

   fees is Iimited to the statutory cap of$9,800.00 plus travelexpenses in the amountof
   $1,464.19,fora totalof$11,264.19.
         ACCO RDING LY,thisCoud recom mendsto the DistrictCoudthatthe ClA voucher

   #FLS 13-1035be G RANTED insofarasM r.Johanssonbe awardedthestatutorym axim um

   of$9,800.00asreasonableattorney'sfeestogetherwithtravelexpenses inthe amountof
   $1,464.19,fora totalsum of$11,264.19.
         The padies shall have foudeen (14) days from the date of this Report and
   Recom mendation within which to file objections,ifany,with the Honorable Jose E.
   Madinez,the United States DistrictJudge assigned to this case. Pursuantto Federal

   RulesofCrim inalProcedure,Rule59(b)(2),failuretofile objectionstimelywaivesaparty's
   rightto review and bars the parties from attacking on appealany Iegalrulings and factual

   findings contained herein.

         DO NE AND SUBM ITTED this F7            day ofM ay,2014,atFod Pierce,Northern

   Division ofthe Southern DistrictofFlorida.




                                           F      K J.L       .
                                               NITED STATES MAG ISTRATE JUDGE


   Copies furnished:
   Hon.Jose E.M adinez
   Om arF.G uerra Johansson,Esq.
   Lucy Lara,CJA Adm inistrator
